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                        Exhibit A
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                                     No. 09-0222

      United States Court of Appeals for the Second Circuit

UFCW LOCAL 1776 AND PARTICIPATING EMPLOYERS HEALTH AND WELFARE FUND, ERIC
TAYAG and MID-WEST NATIONAL LIFE INSURANCE COMPANY OF TENNESSEE, on behalf of
themselves and others similarly situated, LOCAL 28 SHEETMETAL WORKERS, on behalf of
themselves and others similarly situated, and SERGEANTS BENEVOLENT ASSOCIATION
HEALTH AND WELFARE FUND, on behalf of themselves and others similarly situated,

                                           Plaintiffs-Appellees

                                            v.
ELI LILLY AND COMPANY,
                                           Defendant-Appellant,

TEXAS DEPARTMENT OF STATE HEALTH SERVICES,

                                           Defendant.



 On Appeal from the United States District Court for the Eastern District of New York, Docket
              Numbers: 04-MD-1596, 05-CV-2948, 06 CV-0021 & 06-CV-6322



     PETITION FOR PANEL REHEARING AND REHEARING EN BANC

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September 24, 2010
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                         PRELIMINARY STATEMENT
      Pursuant to FED. R. APP. P. 35 and 40, Plaintiff-Appellee TPPs request an

order vacating the September 10, 2010 decision of this Court (Katzmann,

Livingston, and Lynch, J.), and petition for rehearing en banc and rehearing before

the Panel. In re Zyprexa Prods. Liab. Litig. (UFCW Local 1776 v. Eli Lilly and

Co.), 2010 U.S. App. LEXIS 18959, (Slip Op. attached, “Op.”).

      Rehearing en banc is warranted because the Panel’s decision disregards

controlling Supreme Court precedent regarding RICO causation, sub silentio ruling

(i) that Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639, 128 S. Ct. 2131

(2008) (“Bridge”), has no force of law, and (ii) that Hemi Group LLC v. City of

New York, 130 S. Ct. 983 (2010) (“Hemi”), despite explicit direction to the

contrary, effectively overrules Bridge. Controlling RICO precedent requires a

showing of direct injury, but not direct reliance, i.e., factual causation. The Panel

conflates these two distinct concepts, taking the position at one point that all actors

in the causal chain must share the same motivations in reacting to the RICO

misconduct, while later taking an even more radical position that no other persons

may be in the causal chain at all. As a result, the Panel’s decision abrogates Bridge

by requiring direct, first-party causation for all RICO cases.

      The Panel’s decision disregards controlling Second Circuit law. Desiano v.

Warner-Lambert Co., 326 F.3d 339 (2d Cir. 2003), held that “this and other courts



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have long recognized the right of HBPs [health benefit providers] to recover from

drug companies amounts that were overpaid due to illegal or deceptive marketing

practices.” 326 F. 3d 350. Desiano explicitly decided, in favor of TPPs, the very

same RICO causation issues presented in this case. Although discussed

prominently in the district court’s ruling and the parties’ arguments, the Panel does

not even cite to the decision.

      Rehearing en banc is also warranted because the proceeding raises

four “questions of exceptional importance.” See FED. R. APP. P. 35. First, the

decision contorts RICO substantive law, making RICO inapplicable to any market

where one party is legally obligated to pay for a product chosen by another.

Second, the decision makes it nigh impossible to certify a marketing claim under

Rule 23, even where every class member pays the same percentage damage for

each transaction at issue. Third, the viability of judicial remedies for health care

fraud, waste, and abuse is an exceptionally important public policy matter,

particularly where modern health care is increasingly mediated through private

health benefit providers who do not make health care decisions but must pay for

health care decisions. Fourth, this case by itself is exceptionally important. The

record shows that, due to Lilly’s fraud, billions of dollars were unnecessarily spent

for a mediocre psychotropic drug. By ignoring controlling Supreme Court and




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Second Circuit precedent, the Panel’s decision denies TPPs a RICO remedy and

works an unjust result. Rehearing en banc rests well within these four bedposts.

      Finally, rehearing by the Panel is generally warranted when the Panel has

overlooked or misapprehended points of law or fact. FED. R. APP. P. 40. Here, the

Panel’s decision is controlled by misinterpretations of Hemi, a case decided after

the briefing and oral argument of this matter. The Panel did not have the benefit of

either a district court ruling or advocacy by the parties applying the facts of this

case to Hemi’s legal constructs. The Panel also misapprehended the evidentiary

record which in fact shows that TPPs directly and indirectly relied on Lilly’s

misapprehensions.

                             STATEMENT OF FACTS
      Prescription drug decision-making involves prescribers and payors.1

Prescribers choose the drug, but do not pay. Payors pay for the drug, but do not

choose the drug. These actors have different roles and motivations, but rely on the

same sources of information.

      For more than a decade, payors and prescribers did exactly what they were

supposed to do. TPPs relied on Lilly’s clinical trials and health outcomes data that




1
 See generally, In re Zyprexa Prods. Liab. Litig. (UFCW Local 1776 v. Eli Lilly
and Co.), 253 F.R.D. 69, 248-49 (E.D.N.Y. 2008) (discussing participants in the
market for pharmaceuticals).

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said Zyprexa was a premium drug worth a premium price;2 put Zyprexa on their

formularies in a parity position with other branded antipsychotic drugs;3 allowed

physicians to prescribe Zyprexa and patients to receive it without restrictions;4 and

paid for countless Zyprexa prescriptions.5 Physicians relied on the same trusted

sources of information and prescribed Zyprexa millions of times.6

      Except, Lilly lied.7 Lilly marketed Zyprexa as a “superior, highly effective,

virtually free of side effects, easy to use product” while knowing it was about as

effective as other atypicals and presented dangerous health risks.8 Lilly paid

scientists to conduct studies that supported pre-determined favorable conclusions.9

Lilly dominated the sources of information TPPs, prescribers and PBMs rely on,

disseminating its misrepresentations far and wide.10



2
  See infra, n. 16-19.
3
  See, e.g., A-833, -1537.
4
  253 F.R.D. at 34, 37, 40, 41, 44, 46, 228, 231, 245 (none of the large PBMs
placed restrictions on Zyprexa during the class period), 247-48 (“restrictions are
minimal”). The Panel decision claims there is evidence that some TPPs began to
request rebates after learning some of Lilly’s fraud. Op. at 28. The record reflects
that during the class period, there were “relatively few rebates available” for
Zyprexa. 253 F.R.D. at 69.
5
  253 F.R.D. at 398 (“most, if not all, TPPs have paid or reimbursed the cost of
Zyprexa prescriptions”).
6
  253 F.R.D. at 193, 250-51. A-1758.
7
  See infra, n. 14.
8
  253 F.R.D. at 117.
9
  A-1748.
10
   See, e.g., 253 F.R.D. at 106, 144, 147, 238 (PBMs), 174-76, 250 (physicians); A-
583, -831 (at n.389-92), -252-96 (describing Lilly’s role in research and review

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      Lilly launched Zyprexa at a price point well above every other

antipsychotic.11 Lilly knew it could not charge a premium price for Zyprexa – or

sell massive quantities of the drug – unless it convinced TPPs and prescribers that

Zyprexa was safer and more effective than any other atypical antipsychotic.12 This

is precisely the same conduct that led Lilly to plead guilty to federal criminal

charges for defrauding governmental health insurance programs.

      Lilly knew TPPs had to provide some coverage for Zyprexa given that it was

approved to treat serious mental illnesses. But Lilly also knew that limits existed:

Zyprexa could not “command a premium price” and would have faced “therapeutic

substitution among atypical antipsychotics” or formulary restrictions if Lilly had

been truthful about its actual health risks and effectiveness.13 Lilly also knew that

if the price of Zyprexa did not reflect its value, TPPs would not pay for it.14




articles, CMEs, detailing, marketing, and public service organizations and
guidelines); A-853-1037 (same).
11
   A-311 (“Zyprexa was consistently priced higher” having a “price differential”
from $77 in 1996 to $150 in 2006.”), -310 (Figure 4), -193.
12
   253 F.R.D. at 159-60, quoting Defs-Appellants’ expert Kolassa. See also, e.g.,
A-1283 (Rosenthal), -1365-66 (Harris), -1508, -1526 (Kolassa), -1634 (Defs-
Appellants’ expert I. Cockburn); A-1910-11.
13
   A-1910; A-1696; see, e.g., 253 F.R.D. at 84, 142-43.
14
   A-1283, 1288 (Plfs-Appellees’ expert M. Rosenthal); -1365-66 (Plfs-Appellees’
expert J. Harris), -1508, -1526 (Kolassa), -1634 (Defs-Appellants’ expert I.
Cockburn); -1910-11253; F.R.D. at 159-60, quoting Defs-Appellants’ expert E.M.
Kolassa.

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      The district court found class-wide evidence of Lilly’s intentional deceptive

conduct regarding claims of Zyprexa’s superiority.15 It also found that

             [e]vidence could be relied upon by a jury to determine
             that, but for Lilly’s misconduct, the launch price of
             Zyprexa would have been set at markedly lower levels
             than its major competitors.16

      The district court similarly found ample evidence that TPPs relied on Lilly’s

misrepresentations, both directly and indirectly. TPPs directly relied by placing

Zyprexa in the same formulary position as other atypical antipsychotics and paying

for millions of prescriptions.17 TPPs contract with PBMs, and relied fully on




15
   See, e.g., 253 F.R.D. at 117-43 (outlining Lilly’s representations about Zyprexa
over time); 253 F.R.D. at 152-53 (summarizing sales representative depositions
and call notes reflecting Lilly’s misrepresentations to the healthcare community);
253 F.R.D. at 155-56 (recognizing Lilly’s clinical trials failed to demonstrate
Zyprexa’s superiority while its publications stated the opposite); 253 F.R.D. at
166-70 (crediting testimony of Plfs-Appellees’ expert W. Wirshing as “suppl[ing]
strong evidence supporting the plaintiffs’ position”, id. at 166 , and that “prior to
Zyprexa’s launch… ‘there [was] no credible evidence that [Zyprexa] is more
efficacious than typical or atypical psychotic medications,” id. at 169); 253 F.R.D.
at 175-76 (citing Abramson testimony regarding Lilly’s claims of superiority being
proven false); 253 F.R.D. at 193 (summarizing “the evidence showed
misrepresentation lending to uniform overcharge per prescription paid for by
plaintiffs.”).
16
   253 F.R.D. at 370; see also 253 F.R.D. at 194 (holding “here the evidence
supports a finding of an overcharge based on the fraud…” and that “the total fraud
resulted in an increased price… Without the fraud the price would have been
lower.”), 390.
17
   See, e.g., A-833, -1537, 253 F.R.D. at 244 (“Most P&T committees added
[Zyprexa] to their PBM’s drug formularies…based solely upon the drug’s
classification and the information provided by Lilly.”)

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PBMs formulary decisions.18 PBMs in turn rely on clinical information from drug

manufacturers in setting formularies.19 Payors also indirectly relied because

physicians believed Lilly’s misrepresentations and consequently wrote millions of

Zyprexa prescriptions, thereby placing further pressure on TPPs to maintain open

formulary access to Zyprexa despite its premium price.20

      Finally, the court found that TPPs were the only entities that had suffered a

direct injury: “institutional plaintiffs have laid out their own money for Zyprexa”21

and “have demonstrated a sufficient causal nexus between Lilly’s alleged fraud and

their own claimed economic injuries.”22 The Panel did not disturb these findings.




18
   253 F.R.D. at 235 (TPPs “rely fully on the PBM and its formulary decisions”),
236 (“TPPs rely on their PBMs for guidance”), 242 (TPPs “completely rely[ing] on
the expertise of PBMs to create their formularies and operate the P&T
committees.”).
19
   253 F.R.D. at 238 (PBMs rely on clinical information, “this clinical information
primarily provided by drug manufacturers, sets the foundation for formulary
development.”).
20
   See, e.g., 253 F.R.D. at 193 (finding “there is ample evidence that fraud was
directed… at doctors who relied, causing damages in overpayments by plaintiffs”);
21
   253 F.R.D. at 379.
22
   In re Zyprexa Prods. Liab. Litig. (UFCW Local 1776 v. Eli Lilly and Co.), 493
F.Supp.2d 571, 576 (E.D.N.Y. 2007).

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                                      ARGUMENT

     I.       The Panel’s Decision Conflicts with Supreme Court Precedent and
                                Warrants Rehearing En Banc

A.         For RICO Cases, Controlling Supreme Court Precedent Requires A
           Showing Of Direct Harm, But Not Direct Reliance.

           Controlling Supreme Court precedent draws a sharp distinction between

actionable RICO conduct, and recoverable RICO injury. RICO injury must be

direct. It cannot be derivative of harm to another, nor unconnected to the RICO

scheme. Holmes, 503 U.S. at 271-272.

           Actionable RICO conduct, however, need not be directed at the plaintiff.

The sequelae from RICO causation may be mediated through other persons or

events. Bridge, 128 S. Ct. at 2134 (under RICO, “a showing of first-party reliance

is not required”).

           This distinction balances the scope of RICO. Since “a person can be injured

‘by reason of’ a pattern of mail fraud even if he has not relied on any

misrepresentations,” and since there is “[n]othing on the face of the relevant

statutory provisions imposing . . . a [first-party] requirement,” RICO extends ‘but

for’ causation to cases where the RICO conduct causes non-parties to take actions

that lead to the plaintiff’s injury. Bridge 128 S. Ct. at 2139. Proximate cause,

however, is a “judicial tool used to limit a person’s responsibilities for the

consequences of that person’s own acts,” Holmes, 503 U.S. at 268. “[D]irectly

injured victims can generally be counted on to vindicate the law as private

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attorneys general, without any of the problems attendant by plaintiffs injured more

remotely.” Holmes 503 U.S. at 269-270.

      By failing to grasp this fundamental distinction – that RICO requires direct

inury but not direct factual causation – the Panel’s decision conflicts with Holmes,

Anza, Bridge, and Hemi. Indeed, without explicitly saying so, the Panel decision

treats Bridge as having no force of law at all.

      1.     Holmes v. Securities Inv. Prot. Corp.
      In Holmes, the Court held that a RICO plaintiff must show that the predicate

acts were both ‘but for’ and proximate causes of his injury. 503 U.S. 258, 268

(1992). Proximate cause requires “some direct relation between the injury asserted

and the injurious conduct alleged,” and factors to be considered in determining the

scope of RICO proximate cause are (i) the ease of measuring the injury, (ii) the

risk of multiple recoveries in apportioning injuries, and (iii) the potential existence

of more directly injured plaintiffs. Id.

      In Holmes, the RICO misconduct caused stock prices to collapse, thereby

arguably making broker-dealers less able to meet their obligations to customers, in

turn triggering an obligation of SIPC (the plaintiff) to cover the broker-dealers’

loss. Id. at 261. The parties directly injured by the stock manipulation were

broker-dealers, not SIPC. The claimed RICO injury to SIPC was indirect because




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it was “purely contingent” on the harm suffered by broker-dealers. Id. at 271.

Direct injury cannot be derivative of another’s injury.

      2.      Anza v. Ideal Steel Supply Corp.

      In Anza, the plaintiff alleged that a competitor engaged in RICO misconduct

by cheating New York State (a non-party) out of sales taxes, thereby reducing the

competitor’s overhead and enabling it to undercut the plaintiff’s prices. Id. at 454.

Anza ruled “[t]he direct victim of this conduct … [was] the State of New York, not

[the plaintiff].” Id. at 458. Plaintiff’s injury was “a set of actions (offering lower

prices) entirely distinct from the alleged RICO violation (defrauding the State).”

Id. at 458. Thus, the plaintiff did not suffer a direct injury because the RICO

violation directly caused non-payment of taxes, not plaintiffs’ derivative injury due

to a competitor’s lower overhead. Id.

      3.      Bridge v. Phoenix Bond & Indem. Co.
           In Bridge, the Supreme Court explicitly held that a RICO plaintiff need

not be the person who relied on the defendant’s fraud; that is, actionable RICO

conduct does not require first-party causation. 128 S.Ct. at 2144. Although direct

injury is required, the plaintiff itself need not rely on the defendant’s fraud to show

but-for causation or proximate cause leading to that injury. Id. Bridge recognized

that “it may well be that a RICO plaintiff alleging injury by reason of a pattern of

mail fraud must establish at least third-party reliance in order to prove causation,”



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but it explicitly recognized that “a person can be injured by reason of a pattern of

mail fraud even if he has not relied on any misrepresentations.” Bridge, 128 S.Ct.

at 2139, 2144 (emphasis added). While the RICO injury must be direct, (i.e., the

injured party must be first in line and the injury unshared with others to avoid

apportionment), the causal chain of events leading to it need not. Id. at 2143.

      4.     Hemi Group LLC v. City of New York
      In Hemi, the RICO misconduct by the cigarette seller Hemi was failure to

report online cigarette sales to the state of New York, which reporting, if given to

the city of New York, might enable the city to chase customers who had not paid

sales taxes. 130 S. Ct. at 986-987. The actions of customers paying, or not paying,

cigarette taxes had nothing whatsoever to do with the claimed fraud of Hemi (the

defendant) in failing to report to the state the customer identities. Id. The Court

concluded that “the conduct directly causing the harm [the residents’ failure to pay

taxes to the City] was distinct from the conduct giving rise to the fraud [the

defendants’ failure to file the reports with the State],” and thus the city had not

suffered a direct injury. Id. at 990.

      The Hemi Court took pains to confirm that Hemi did not overturn or

otherwise conflict with the Court’s prior holding in Bridge. Id. at 992. Chief

Justice Roberts distinguished the “straightforward” theory of causation in Bridge

from the convoluted theory in Hemi. The Court stated:



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             The losing bidders [in Bridge]…were the only parties injured
             by petitioners’ misrepresentations. The county was not,
             it received the same revenue regardless of which bidder
             prevailed.

Id. at 922. Although in Bridge, the misrepresentations were made to an

intermediate, third-party, that party suffered no injury; the harm flowed through to

the plaintiff, so that the plaintiffs “were the only parties injured by petitioners’

misrepresentations.” Id. (citing Bridge, 128 S. Ct. at 2144).

B.    The TPPs Satisfied Supreme Court Precedence by Establishing Injury
      and Reliance

      This case presents a case of direct injury to TPPs. Here, TPPs are the first,

the only, and the intended victim. Only TPPs paid for Zyprexa and were harmed

by the excess premium enabled by the RICO scheme. There are no other parties

that are in the chain of causation who suffered harm or are in a position to recover.

      So long as the injury is direct, the involvement of agents or intermediaries

does not render an injury too remote where defendants’ misrepresentations are

aimed at, made to, and relied on by those intermediaries. The Supreme Court is

clear that neither the split between prescriber and payor, nor the presence of PBMs,

insulates Lilly from liability for its scheme to defraud.

      In this case, Lilly’s RICO misconduct – misrepresenting Zyprexa as having

superior efficacy and failing to disclose serious health risks – affected each spoke

in the decision-making wheel leading to over-payments for Zyprexa. TPPs relied



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on the misrepresentations in (i) deciding to place Zyprexa in parity formulary

placement despite the large price premium, (ii) not obtaining rebates during the

2001-2005 class period, and (iii) paying billions of dollars of unnecessary

premiums. Formulary decision-makers from P&T committees (whether housed

within TPP organizations, or in PBM organizations used by TPPs to make

formulary decisions) relied on the scheme in providing Zyprexa on formularies

without restrictions. Physicians relied on the false representations of superior

efficacy and lack of serious health risks and prescribed enormous numbers of

Zyprexa prescriptions causing the TPPs to pay for those prescriptions, thereby

placing further pressures on TPPs to maintain open formulary access for a

premium priced drug. In this case, there is both direct reliance by TPPs, and

indirect reliance through physicians and non-TPP formulary decision makers.

C.    In Ruling on But-For Causation, the Panel Improperly Required Direct
      Reliance.
      The Panel’s analysis that TPPs have not shown RICO cause-in-fact appears

in two sentences. Op. at 26.23 The Panel writes


23
   Although the analysis is preceded by a page discussion of McLaughlin’s
treatment of aggregate evidence, the Panel does not decide any issue on that topic.
Instead it abruptly moves to RICO cause-in-fact. McLaughlin v. Am. Tobacco Co.,
522 F 3d 215 (2d Cir. 2008) (overruled in part by Bridge). McLaughlin was
decided by the Second Circuit before Bridge, and held that first person reliance
was required in order to establish a RICO violation. To the extent that McLaughlin
stood for the proposition that first party reliance was required to prove a RICO
violation, McLaughlin is no longer good law. See Bridge v. 128 S. Ct. at 2144; see

                                         13
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             the evidence in the record, as discussed above, supports
             the conclusion that prescribing doctors do not generally
             consider the price of a medication when deciding what to
             prescribe for an individual patient. Any reliance by
             doctors on misrepresentations as to the efficacy and side
             effects of a drug, therefore, was not a but-for cause of the
             price that TPPs ultimately paid for each prescription.

Op. at 26. The Panel’s statement suggests that because doctors’ reliance on the

false marketing scheme is not motivated by drug costs, but the TPPs’ injury from

the false marketing scheme is measured by drug overpayment, the TPPs’

overpayments are not caused by the physicians’ reliance. But whatever the

motivation, and contrary to the Panel’s reasoning, the physicians’ reliance is on the

scheme that causes the harm. The Panel requires that all participants in the causal

chain share the same motivation. In effect, it reinstates a first-party reliance

requirement and immunizes misconduct in the health care market from RICO

liability.

       This is precisely the opposite of the Supreme Court’s holding in Bridge: “a

person can be injured ‘by reason of’ a pattern of mail fraud even if he has not

relied on any misrepresentations.” Bridge, 128 S. Ct. at 2139 (emphasis added).

The Bridge Court required only that someone rely on the fraudulent predicate act

and that the RICO plaintiffs be first line victims of the fraud. Id. Here, in two




also City of v. New York v. Smokes-Spirits.com, Inc., 541 F3d 425, 444 n. 24 (2nd
Cir. 2008). (overruled on other grounds by Hemi).

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short sentences, the Panel requires first-party reliance or causation in contravention

of Bridge.

D.    In Ruling on Proximate Cause, the Panel Improperly Adds A Direct
      Reliance Requirement On Top Of The Direct Injury Requirement.
      The Panel’s analysis of why the TPPs cannot satisfy RICO proximate cause

standard (Op., 26-28), relies on an erroneous “crucial” requirement for the TPPs to

allege that they themselves directly relied on Lilly’s misrepresentations:24

“Because only the TPPs were in a position to negotiate the price paid for Zyprexa,

however, the only reliance that might show proximate causation with respect to

price is reliance by the TPPs, not reliance by the doctors.” Op. at 27.

      Neither Bridge nor Hemi requires this. Significantly, according to the

Panel’s “shared motivation” requirement, the Bridge plaintiffs could not have

recovered under RICO, thereby overturning the holding of the Supreme Court.

Here, as in Bridge, while both payors and prescribers were affected by (and relied

on) Lilly’s scheme to defraud, only the payors were injured. The payors’ injury is

directly related to the fraudulent predicate acts and satisfies Hemi. See Hemi, 130

Ct. at 992.

24
  The Panel states that the TPPs do not allege that they relied on Lilly’s
misrepresentations. Op. at 27. This is factually incorrect. The TPPs and their
PBMs relied on Lilly’s misrepresentations in placing Zyprexa on their formularies
in a parity position with other atypical antipsychotics despite the premium price.
See Statement of Facts. Prescribers also relied on Lilly’s misrepresentations that
Zyprexa was safer and more effective than its competitors and wrote more Zyprexa
prescriptions. Id.

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      The Panel’s causation analysis is based on misreading Hemi. The Panel

cites Hemi in support of its conclusion that

             Plaintiffs’ theory of liability rests on the ‘independent
             actions of third and even fourth parties,’ [Hemi] at 992,
             as physicians, PBMs, and PBM Pharmacy and
             Therapeutic Committees all play a role in the chain
             between Lilly and TPPs.

Op. at 27 (internally citation omitted). In Hemi, the city’s injury was caused by

consumers deciding not to pay sales taxes – consumer decisions having nothing

whatsoever to do with the RICO scheme of not reporting information to the state.

When the Court wrote in Hemi “the conduct directly causing the harm was distinct

from the conduct giving rise to the fraud,” Hemi 130 S.Ct. at 990, it meant just that

– the causal chain depended on conduct by non-parties whose actions were wholly

unrelated to the RICO scheme. The Court in Hemi left explicitly intact, however,

the holding of Bridge that conduct by non-parties in response to the RICO scheme

satisfies RICO causation (i.e., no first party causation required).

      The Panel’s decision ignores this vital difference. It simply identifies that

third and fourth parties (physicians, PBMs) are in the causal loop, as if the mere

existence of third of fourth parties defeats RICO causation. Op. at 24. 25 But this

cannot be so. Hemi holds there is no proximate cause when those non-party


25
  We note the causal chain set out by the Panel is inconsistent with the record
evidence and the district court’s findings. Compare Op. 26-7 with the Statement of
Facts, supra.

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actions are “independent” of the RICO scheme. Hemi at 992. Here, as in Bridge,

the conduct of the physicians and PBMs in this case was in response to the RICO

fraud, and thus under Bridge appropriate for use in the causal chain.26

     II.      The Panel’s Decision Conflicts with Second Circuit Precedent and
                               Warrants Rehearing En Banc
           The Panel’s decision directly conflicts with the Second Circuit’s holding in

Desiano v. Warner-Lambert Co., 326 F.3d 339 (2d Cir. 2003). In Desiano, this

Court’s RICO causation analysis allowed recovery by TPPs against drug

manufacturers for false marketing. The issues were fully briefed to the Panel and

are not repeated here. (Appellees brief is appended to this petition.) The Panel’s

decision makes no mention of Desiano.

III.       The Panel’s Decision Involves Questions of Exceptional Importance and
                               Warrants Rehearing En Banc
           As outlined in the Preliminary Statement, the Panel’s decision raises a

number of issues of exceptional importance that warrant en banc consideration.

     IV.      The Panel’s Decision Misapprehended Points of Law and Fact and
                                    Warrants Rehearing

           First, the Panel’s opinion rests on an incorrect and untenable interpretation

of the United States Supreme Court’s decision in Hemi. See supra, Section I.D.
26
  Hemi’s use of the word “independent” cannot mean that the parties are simply
separate from the plaintiff. Hemi at 992. If that were so, Bridge would be
overruled. Instead, the only proper construction of Hemi, consistent with its
declared intention of keeping Bridge in tact, is that Hemi’s use of the word
“independent” means actions wholly unrelated to the RICO misconduct.



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The Supreme Court decided Hemi after oral argument in this case. Hemi’s impact

was not considered by the district court nor briefed or argued by the parties here.

Second, the Panel’s decision completely ignores binding Second Circuit precedent

in Desiano. See supra, Section II. Third, the Panel’s opinion fundamentally

misunderstands the factual record regarding direct and indirect reliance by the

TPPs. See supra, Statement of Facts; p. 23; Section I.B. Rehearing is warranted to

address these issues of law and fact. FED. R. APP. P. 40.27




27
  The Panel addressed the quantity theory rejected by the district court. The
parties had neither briefed nor argued the issue to the Panel. Op. at 29-32. To the
extent the Second Circuit wishes to address the viability of a quantity theory,
further briefing or argument by the parties is warranted.



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